          Case 1:18-cv-00134-BKS-ATB             Document 8-1        Filed 02/05/18    Page 1 of 1

                                      United States District Court
                                     Northern District of New York

                          NEW ATTORNEY E-FILING REGISTRATION FORM

  Enter your full name, as it will appear on your official Admission Certificate. Select your method of
      admission and enter the required information. Complete and sign the Oath on Admission.

                                                                                               4S   +S
NAME: Peter                         A.                     Patterson                           **    ***
                 First                Middle                  Last

         ADMISSION see L.R. 83.1(b)
         Applicants who not admitted to practice in the Federal Courts of New York.

         RECIPROCAL ADMISSION see L.R. 83.1(c)
         A member in good standing of the bar of the U.S. District Court for the Eastern, Western or Southern
         District of New York. [DECLARATION OF SPONSOR NOT REQUIRED]

         PRO HAC VICE ADMISSION see L.R. 83.1(d)
         Motion for Limited Admission Pro Hac Vice in                           18-cv-134-BKS-ATB
         Applicant required to file a Pro Hac Vice access request in PACER.        (casenumber)

         FEDERAL GOVERNMENT ATTORNEY see L.R. 83.1(e)
               Attorney appointed under 28 U.S.C. Section 541-543, or employed by the U.S.
                Government, who is admitted to practice in other Federal Districts
               Attorney in the employ of the United States Government who is not admitted
                in other Federal Districts [CERTIFICATE OF GOOD STANDING REQUIRED]

         SPECIAL GROUP ADMISSION CEREMONY [ORDER & DECLARATION OF SPONSOR NOT REQUIRED]
         Admission at the Special Ceremony Scheduled on   /     /    in , NY.

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                                               Oath on Admission

I,              Peter A. Patterson           , do solemnly swear (or affirm) that as an attorney and
counselor of this Court, I will conduct myself uprightly and according to law and that I will support the
Constitution of the United States.


Dated:     2   / 02
                    / 2018


                                                                      Attorney Signature
